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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )       Case No. 3:12-CR-110 JD
                                           )
HAYLE N. DOTY (01)                         )

                                           ORDER

       No objections have been filed to the magistrate judge’s findings and recommendation upon

a plea of guilty issued on December 13, 2012 [DE 59]. Accordingly, the court now ADOPTS those

findings and recommendations, ACCEPTS defendant Hayle N. Doty’s plea of guilty, ACCEPTS the

plea agreement, and FINDS the defendant guilty of Count 1 of the Indictment, in violation of 21

U.S.C. §§ 841(a)(1) and 846.

       SO ORDERED.

       ENTERED: January 2, 2013



                                                  /s/ JON E. DEGUILIO
                                           Judge
                                           United States District Court
